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DISTRICT COURT OF MARYLAND FOR
LOCATED AT (COURT ADDRESS) COMPLAINT/APPLICATION AND AFFIDAVIT
IN SUPPORT OF JUDGMENT
£135,000 or under Cover $5,000 C over $10,000
Clerk: Please docket this case in ah action of [contract Xitort .
CASE NO. CJreplevin (_] detinue [| bad faith insurance claim
The particulars of this case are:

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PARTIES

Plaintiff . Kate ‘ hoe 4; ‘ 4
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P.O, Box 5295 9 fie 11 const A pipe Hed vioktnwof the Farr Debt
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- Md} Lem eng 40 abs DE 1750-5 Sere Collected Hactices Ae E finch deisge but eet
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= —— hn ted to Seed rand ba 35- b>
3. Te by: (See Continuation Sheet}
C Certified
Cpe | The Plaintiff claims $ _, plus interest of $ ,
Process | Interest at the [_] legal rate{_| contractual rate calculated at
a cons’ 1%, from to ( days x §
7 Serve bv: per day) and attorney's fees of $__| plus court costs.
, Oo Cemifiod [] Return of the property and damages of $
CJ erivate for its detention in an action of replevin.
Pracess Return of the property, or its valpe, plus damages of
CO Constable $ ft . for |ts detention in action of detinue.
NS —— —_- shit J GL SS bp lus Court Cast $
— ATTORNEYS — et pdgmpahy i ne
For Plaintiff - Name, Address, Telephone Number & Code - ————
Bi ttormey/Attarney Code
Printed Name: 4 i“ | £ cobs
Address: 7700 Wee Eerleathel, fesedete, nd D dil
LL Telephone Number: YUS-37El9 Fy

Fax: 2
/ E-mail: Pau) @odesra/ 41o\aol Con
MILITARY SERVICE AFFIDAVIT”
[7] Defendant(s) is/are in the military service.

C1 No Defendant is in the military service. The facts supporting this statement are:

Specific facts must be given for Ihe Courl lo conclude that each Defendant who isa natural person ts not in the military.
i am unable to determine whether or not any Defendant is in military service. . . .
] creby declare or affirm under the penalties of perjury that the facts and matters set foapH 3 aforepoipe Affidavit are true and correct to
the best of my knowledge, information, and belief. Koa
RL Oct sz
* Date

APPLICATION AND AFFIDAVIT IN SUPPORT OF JUDGMENT (See Plaintiff Notice on Back Page)
Attached hereto are the indicated documents which contain sufficient, detail as to liability and damage to apprise the Defendant clearly of the
claim against the Defendant, including the amount of any interest claimed. |, .
{_] Properly authenticated copy of any note, security agreement upon which claim is based CItemized statement of account Ll Interest worksheet
[Vouchers () Check CO Other written document __ O Verified itemized repair bill or estimate
1 HEREBY CERTIFY: That lam the Plaintiff of the Plaintiff hergin and am competent to testify to
the matters stated in this complaint, which are made on my personal knowledge; that there is J due and qwing by the Defendant to the
Plaintiff the sum set forth in the Complaint.

I solernnly affirm, under the penalties of perjury and upon personal knowledge t ec
compet to testify to these matters.
6 Ort / 7

Date ” on Signature of Ajpiant
DC-CV-001 (front) (Rev. 01/2016) Print Date (09/2016)

Signature of Affiant

Cemplaint are true and J am

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